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                First Judicial District of Pennsylvania

                               51CR00047732011
                                Johnnie Simmons



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                            Trial (Jury) Volume 4
                             December 14, 2011




          _______________________________________________

                      First Judicial District of Pennsylvania
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Johnnie Simmons                                               December 14, 2011
                                                           Page 1     |                                                                 Page 2
[1]      IN THE COURT OF COMMON PLEAS                                 | [1]
[2]   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA                                           THE COURT: This is the Commonwealth vs.
[3]      CRIMINAL TRIAL DIVISION                                      | [2]  Johnnie Simmons, CP-51-CR-0004773-2011. Mr. Simmons
[4]
                 ---
                                                                      | [3]   is here with his attorney, Mr. Lorusso. The
 [5]                                                                  | [4]   Commonwealth by Ms. Forchetti.
 [6] COMMONWEALTH                 : CP-51-CR-0004773-2011             | [5]
                  :                                                                     Counsel, as I told the two of you off the
 [7]    V.          :                                                 |
                                                                              record, there is a question, rather two questions,
                  :
 [8] JOHNNIE SIMMONS             :
                                                                      | [6]
                                                                      |  [7]  from the jury. I'm going to read the questions to
 [9]
                 ---                                                  |  [8]  you on the record and have the two of you respond,
[10]
        Courtroom 802, Criminal Justice Center                        |  [9]  tell me how you wish me to answer the jurors'
[11]
           Philadelphia, Pennsylvania
                                                                      | [10]   questions.
[12]                                                                  | [11]             Your Honor, we the jury have the
                 ---                                                  |
[13]
                                                                        [12]   following     questions: One, may we have the 4/26/11
             December 14, 2011                                        | [13]   preliminary hearing testimony of Mr. Talbert reread
[14]
                 ---
                                                                      | [14]   to us?
[15]                                                                  | [15]             And, two, may we have Officer Edmiston's
               Jury Trial                                             | [16]
[16]                                                                           report in reference to Michael Bell, slash, 75-483
                Volume V                                              | [17]   A, pedestrian stop? Signed, Juror No. 8.
[17]
                 ---
                                                                      |
                                                                                         What I'm going to do, Mr. Lorusso, is to
[18]                                                                  | [18]
[19] B E F O R E: THE HONORABLE SANDY L. V. BYRD, J.                  | [19]   hear   first from you and I'll take them in the
[20]
     APPEARANCES:                                                     | [20]   inverted    fashion.   Let's address Question No. 2
[21]                                                                  | [21]   first.  It says,  May   we have Edmiston's report
           STACY FORCHETTI, ESQUIRE
[22]          Assistant District Attorney                             | [22]   regarding Bell. What's your position?
           For the Commonwealth                                       | [23]             MR. LORUSSO: My position would be that
[23]
[24]          VINCENT LORUSSO, ESQUIRE                                | [24]   Your Honor should not allow that to go to the jury.
           Counsel for the Defendant                                  | [25]
[25]                                                                           It -- well, it's a police report. It also contains
                    Jaclyne Wilson                                    |
____________________________________ | ____________________________________              Jaclyne Wilson
                                                               Page 3 |                                                                 Page 4
 [1]        actually statement or information apparently from         |  [1]  no   problem     either way  there.   If Your Honor  --
 [2]        the witness, Michael Bell, who did not testify in         | [2]             THE COURT: You just don't want it to go
 [3]        this case.                                                | [3]   back?
 [4]                 THE COURT: Commonwealth?                         | [4]             MR. LORUSSO: Correct.
 [5]                 MS. FORCHETTI: Your Honor, the document          | [5]             THE COURT: Okay. Understood.
 [6]        they're asking for technically doesn't even exist.        |  [6]            Second, I shall read to you the first
 [7]        I would agree with Mr. Lorusso that they can't have       | [7]   question and ask -- and I'll have you answer first,
 [8]        Officer Edmiston's prepared 48.                           | [8]   Ms. Forchetti. May we have the preliminary hearing
                                                                      | [9]
 [9]                 THE COURT: Tell me if either of you have                 testimony of the complainant?
                                                                      |
[10]         an objection to this comment to the jury regarding                          MS. FORCHETTI: Your Honor, I believe
                                                                      | [10]
[11]         Question No. 2. I propose to tell them the that          | [11]   that's  an  appropriate request. I would ask that you
[12]         75-48 A report by Officer Edmiston regarding Michael     | [12]   accommodate        their request.
[13]         Bell constitutes inadmissible hearsay as Mr. Bell        | [13]             THE    COURT:      Mr. Lorusso?
[14]         did not testify. Further, the rules of court             | [14]             MR. LORUSSO: Your Honor, I would object
[15]         prohibit the jury from being provided that document      | [15]   to that because of the fact that the nature of the
[16]         during deliberations.                                    | [16]   preliminary hearing was such that it did not allow a
[17]                  MS. FORCHETTI: Your Honor, my objection         | [17]   full cross-examination or confrontation of the
[18]         to it would be first of all that Officer Edmiston        | [18]   witness. So to present just that side basically of
[19]         did not prepare a 48 A. He only prepared a 75-48.        | [19]   direct testimony would give undue weight to a
[20]                  THE COURT: And what else?                       | [20]   statement that was without any test or without any
                                                                      | [21]
[21]                  MS. FORCHETTI: And I would just ask that                 cross-examination.
                                                                      |
[22]         you just say that the police paperwork cannot go                            Also, though appreciating that if Your
                                                                      | [22]
[23]         back to them.                                            | [23]   Honor     is inclined to do that, I would ask to -- if
[24]                  THE COURT: Mr. Lorusso?                         | [24]   Your    Honor    is inclined to allow that testimony to be
[25]                  MR. LORUSSO: Your Honor, I have honestly        | [25]   read   back,   I would   ask that it be read back in the
                      Jaclyne Wilson                                  |                  Jaclyne Wilson
_________________________________________________________________________
Jaclyne Craighead, O.C.R                                  Court Reporting System                                                  (page 1 - 4)
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[1]     context of the testimony and I'm assuming that           | [1]  preliminary hearing. They're entitled to what was
 [2]    that's what we'd be doing that was presented at          | [2]  presented to them at the trial.
 [3]    trial not just the raw reading of the notes of           | [3]           MS. FORCHETTI: Okay.
 [4]    testimony but Ms. Forchetti's questioning and            | [4]           THE COURT: So is that how,
                                                                 | [5]
 [5]    Mr. Talbert's responses to those questions at the               Ms. Craighead, it has been identified by you?
                                                                 |
 [6]    trial because that would be, I would think, the                          COURT REPORTER: Yes, Your Honor.
                                                                 | [6]
 [7]    evidence.                                                |  [7]          THE COURT: Tell me the first -- where it
 [8]             THE COURT: Ms. Forchetti?                       |  [8] starts.
 [9]             MS. FORCHETTI: Your Honor, I think it           | [9]           COURT REPORTER: "MS. FORCHETTI: Your
[10]     would be cleaner just to read the testimony as it       | [10]  Honor, I would ask to mark the notes of testimony as
[11]     stood as you had told the jury that they may            | [11]  Commonwealth C-11?
[12]     consider these notes as suggestive of evidence.         | [12]           "THE COURT: They may be marked.
[13]     That's what they asked for is specifically --           | [13]           "QUESTION: Now back in April of this
[14]             THE COURT: They're not entitled to notes        | [14]  year, 2011, it was me as the district attorney and
[15]     of testimony. The only reason they're entitled to       | [15]  Mr. Fiore as the defense attorney. Do you remember
[16]     this is because you introduced it in your case in       | [16]  that?
                                                                 | [17]
[17]     chief. And the only way it comes in would be                             "ANSWER: No."
                                                                 |
[18]     through your questions and his responses.                                THE COURT: All right. So that's where
                                                                 | [18]
[19]             MS. FORCHETTI: Okay.                            | [19]  we'll  start. What's the last bit of that
[20]             THE COURT: It's obviously not as clean          | [20]  examination?
[21]     as the preliminary hearing testimony because he was,    | [21]           COURT REPORTER: "QUESTION: And do you
[22]     it appeared to me, cooperative with the Commonwealth    | [22]  remember what the description was? If you don't,
[23]     at the preliminary hearing and not cooperative with     | [23]  that's okay. And your answer was, Light-skinned,
[24]     the Commonwealth at the trial. But they're not          | [24]  braids. Do you remember that?
[25]     entitled to a sanitized version of the notes of the     | [25]           "ANSWER: No.
                                                                 |
____________________________________ | ____________________________________
                  Jaclyne Wilson                                                  Jaclyne Wilson
                                                          Page 7 |                                                          Page 8
 [1]         "QUESTION: Okay. That was the end of                |  [1] about   to bring  the jurors out.
 [2] your testimony on April 26th of 2011, that ended the        | [2]  (Jury enters the courtroom at 11:42 a.m.)
 [3] preliminary hearing. You don't remember a single            | [3]           THE COURT: Good morning, ladies and
 [4] word of it?                                                 | [4]  gentlemen.
 [5]         "ANSWER: No, I don't."                              | [5]           Would the foreperson please rise and
 [6]         THE COURT: All right. Our reporter has              |  [6] identify yourself by seat number.
 [7] identified that portion of the examination which is         | [7]           JUROR FOREPERSON: Juror No. 8,
 [8] relevant and admissible pursuant to the jurors'             | [8]  Your Honor.
                                                                 | [9]
 [9] questions so I will permit it. It commences on page                         THE COURT: Mr. Foreman, does the jury
                                                                 |
[10]  159 and ends on page 178. All right.                               have communications and/or questions for the Court?
                                                                 | [10]
[11]          Counsel, ready yourself. We're about to            | [11]           JUROR FOREPERSON: We do, Your Honor. We
[12]  bring the jurors in                                        | [12]  have  three.
[13]              (Pause.)                                       | [13]           THE COURT: Would you start -- I ask
[14]          THE COURT: Counsel, let the record                 | [14]  again you read them exactly as they appear in your
[15]  reflect that while we were awaiting our reporter to        | [15]  writing.
[16]  isolate that portion of the transcript requested by        | [16]           JUROR FOREPERSON: Yes, Your Honor.
[17]  this jury, they have presented yet another question.       | [17]           Number 1, may we have the April 26th,
[18]  It reads as follows: Please clarify if defense is          | [18]  2011, preliminary hearing testimony of Mr. Talbert
[19]  legally required to turn over Mr. Talbert's letter         | [19]  reread to us?
[20]  to the prosecution. Signed, Juror No. 8.                   | [20]           Number 2, may we have Officer Edmiston's
                                                                 | [21]
[21]          We can go off the record so you can let                    report in reference to Michael Bell, slash, 75-483
                                                                 |
[22]  that sink in and think about how you wish me to                    A, pedestrian stop?
                                                                 | [22]
[23]  respond.                                                   | [23]           And then lastly, Your Honor, please
[24]          (Off the record.)                                  | [24]  clarify  is defense legally required to turn
[25]          THE COURT: Ladies and gentlemen, we're             | [25]  Mr.  Talbert's  letter over to the prosecution.
              Jaclyne Wilson                                     |                Jaclyne Wilson
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Jaclyne Craighead, O.C.R                              Court Reporting System                                           (page 5 - 8)
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                                                       Page 9     |                                                            Page 10
[1]              THE COURT: Thank you.                            | [1]  pursuant to a legal obligation is totally outside
 [2]             JUROR FOREPERSON: Thank you, Your Honor.         | [2]  the jury's proper consideration. You should set
 [3]             THE COURT: Ladies and gentlemen, it's            | [3]  aside the evaluation of matters peripheral to your
 [4]     important that we all appreciate the various roles       | [4]  duty as the fact finder and address yourself to the
                                                                  | [5]
 [5]     assigned to each of us. The Commonwealth's attorney             evidence that was presented in this courtroom.
                                                                  |
 [6]     has an obligation to present evidence in an effort              Neither side can now supplement the record. Neither
                                                                  | [6]
 [7]     to prove guilt beyond a reasonable doubt. Defense        |  [7] side can present additional evidence assuming there
 [8]     counsel's role is to defend his client against the       |  [8] is any additional evidence. The evidence in this
 [9]     Commonwealth's effort to prove his guilt in              |  [9] case is closed and your obligation is to determine
[10]      accordance with the law. You, ladies and gentlemen      | [10]  from that evidence the facts, apply the law to those
[11]      of the jury, are fact finders. Your role is to          | [11]  facts and then make a decision as to whether the
[12]      determine from the evidence presented what the facts    | [12]  Commonwealth has or has not proven guilt beyond a
[13]      are. You have an obligation once you determine the      | [13]  reasonable doubt.
[14]      facts to apply the law as I instruct you in the law     | [14]           That brings me to the second question.
[15]      to those facts and then decide whether the              | [15]  There are rules which govern what can and cannot
[16]      Commonwealth has or has not proven guilt beyond a       | [16]  come before a jury and one of the rules is that you
                                                                  | [17]
[17]      reasonable doubt. My duty, as I articulated in                  may not have that document in the jury room during
                                                                  |
[18]      redefining yours, is to be the arbiter of the law.              your deliberations. Your obligation is to
                                                                  | [18]
[19]      It's my responsibility as the presiding judge to        | [19]  collectively recall the evidence that was before you
[20]      instruct you in the law of this case.                   | [20]  and to determine the facts from that evidence. You
[21]              Taking your questions in reverse order.         | [21]  may not have a 75-48, 75-48 A, 75-483. The rules
[22]      I must tell you that the question has absolutely        | [22]  prohibit it and I have an obligation to enforce the
[23]      nothing to do with your role as fact finders.           | [23]  rules.
[24]      Whether or not the letter from Mr. Talbert was          | [24]           The very first question you asked should
[25]      turned over by the defense to the Commonwealth          | [25]  be answered thusly: Generally, a jury is not
____________________________________ || ____________________________________
                  Jaclyne Wilson                                                   Jaclyne Wilson
                                                          Page 11 |                                                            Page 12
 [1] entitled to testimony of a witness from a                    |  [1]          THE    COURT:     Let the record reflect the
 [2] preliminary hearing. However, in this case where             | [2]  jurors have left the room.
 [3] Charles Talbert's preliminary hearing testimony was          | [3]           Is there anything else, Ms. Forchetti?
 [4] presented to you during this trial, our court's              | [4]           MS. FORCHETTI: No, Your Honor.
 [5] permit the reporter to isolate that testimony and to         | [5]           THE COURT: Mr. Lorusso?
 [6] read it back to you. That is properly before you             |  [6]          MR. LORUSSO: No, Your Honor.
 [7] and we shall have it read back.                              | [7]           THE COURT: Thank you, sir. Thank you,
 [8]         So if you would be so patient as to give             | [8]  ma'am.
                                                                  | [9]
 [9] our reporter an opportunity. She has isolated it.                              (Deliberations.)
                                                                  |
[10]  She will now read back to you that portion which                             THE COURT: All right. We're back on the
                                                                  | [10]
[11]  you've asked for and it's, approximately, 19 to 20          | [11]  record.    Mr. Simmons is here with his attorney,
[12]  pages. Bear with us for a moment and when she's             | [12]  Mr.  Lorusso.     The Commonwealth by Ms. Forchetti.
[13]  ready, she will commence the read back.                     | [13]           There  is a new question, counsel. It
[14]         (Court reporter read the testimony of                | [14]  reads, May we please have Officer Edmiston's
[15]  Charles Talbert from 12/6/11 from page 125, Line 13         | [15]  testimony read to us.
[16]  to page 148, Line 9 as requested.)                          | [16]           It's my recollection Officer Edmiston was
[17]         THE COURT: Ladies and gentlemen, we have             | [17]  the first officer on the scene.
[18]  caused our reporter to read back that portion of the        | [18]           MS. FORCHETTI: That is correct.
[19]  testimony you requested. I now request that the 12          | [19]           THE COURT: And that he broadcast some
[20]  of you return to the jury room and resume your              | [20]  initial flash. That there is a lack of clarity as
                                                                  | [21]
[21]  deliberations. Please be advised that if there is                   to where or who the source of that flash is or was.
                                                                  |
[22]  an additional question or if you have additional                             Is that right, Ms. Forchetti?
                                                                  | [22]
[23]  requests, don't hesitate to call on the Court.              | [23]           MS. FORCHETTI: That is my recollection,
[24]  Thank you.                                                  | [24]  Your   Honor.
[25]   (Jury exits the courtroom at 12:15 p.m.)                   | [25]           THE COURT: Mr. Lorusso, what's your
              Jaclyne Wilson                                      |                Jaclyne Wilson
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Jaclyne Craighead, O.C.R                              Court Reporting System                                             (page 9 - 12)
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[1]      position as to how we proceed?                           | [1]           JUROR FOREPERSON: Thank you, Your Honor.
 [2]             MR. LORUSSO: My position is Your Honor           | [2]           THE COURT: Ladies and gentlemen, this
 [3]     direct the jury to rely on their recollection of the     | [3]  was a fairly short trial in terms of its duration.
 [4]     evidence.                                                | [4]  My recollection is that testimony consumed,
                                                                  | [5]
 [5]             THE COURT: Ms. Forchetti?                               approximately, two working days. I'm mindful of the
                                                                  |
 [6]             MS. FORCHETTI: Your Honor, I would                      fact that there was a hiatus. We were unable to
                                                                  | [6]
 [7]     agree.                                                   |  [7] meet on Thursday and Friday because of circumstances
 [8]             THE COURT: All right. Thank you, ma'am.          |  [8] outside the control of the principles, but you,
 [9]             Let's bring the jurors out.                      |  [9] ladies and gentlemen, gave the case your full
[10]       (Jury enters the courtroom at 2:23 p.m.)               | [10]  attention. You were all permitted to take notes.
[11]             THE COURT: Good afternoon, ladies and            | [11]           In light of everything I've said, you
[12]      gentlemen.                                              | [12]  ladies and gentlemen, must, you are obliged to rely
[13]             Will the foreperson please rise and              | [13]  upon your recollection of the evidence. Please, do
[14]      identify yourself by seat number.                       | [14]  so and continue your deliberations.
[15]             JUROR FOREPERSON: Juror No. 8,                   | [15]           Thank you.
[16]      Your Honor.                                             | [16]   (Jury exits the courtroom at 2:25 p.m.)
                                                                  | [17]
[17]             THE COURT: Mr. Foreman, does the jury                               (Deliberations.)
                                                                  |
[18]      have a communication for the Court?                                      THE COURT: Counsel, I'm going to read to
                                                                  | [18]
[19]             JUROR FOREPERSON: We do, Your Honor.             | [19]  you   an  e-mail that was handed to me by Mr. Menna on
[20]             THE COURT: Would you read it as it               | [20]  behalf   of  one of your jurors. I have taken no
[21]      appears in your writing, sir.                           | [21]  actions.    Nor  do I intend to.
[22]             JUROR FOREPERSON: Yes, Your Honor. May           | [22]           It is addressed to Allie Ramsey, account
[23]      we please have Officer Edmiston's testimony read to     | [23]  executive from Terri Fornek it reads: Hi Allie, as
[24]      us?                                                     | [24]  it relates to your productivity, the minimum is
[25]             THE COURT: Thank you.                            | [25]  three new deals and we will, of course, consider
                                                                  |
____________________________________ | ____________________________________
                  Jaclyne Wilson                                                   Jaclyne Wilson
                                                          Page 15 |                                                             Page 16
 [1] prorating that for your time off due to jury duty as         |  [1] think   there  is anything  to do. But in an abundance
 [2] you should not be penalized for fulfilling your              | [2]  of caution, I thought I should share it, and I have.
 [3] responsibilities as a citizen but, again, three new          | [3]           Anything?
 [4] deals is the minimum. So you should strive to hit            | [4]           MR. LORUSSO: I have nothing.
 [5] that number in the days you are able to work during          | [5]           MS. FORCHETTI: Thank you, Your Honor.
 [6] the month. We can discuss more once your jury duty           |  [6]            (Deliberations.)
 [7] wraps up and we know exactly how many days you were          | [7]           THE COURT: We are back on the record. I
 [8] off. Company policy allows as many days off                  | [8]  have a note from the jury. Before I read it, let
                                                                  | [9]
 [9] necessary to fulfill your jury duty obligation.                     the record reflect Mr. Simmons is here with his
                                                                  |
[10]  There is an option in eTime to code those days off                  attorney, Mr. Lorusso. And Ms. Forchetti is here
                                                                  | [10]
[11]  as jury did you. I believe Jim is already aware of          | [11]  for the Commonwealth.
[12]  your jury duty obligation, so if you are unable to          | [12]           The note reads: Your Honor, due to the
[13]  update your eTime, please make sure he knows so he          | [13]  lateness   of the hour, we would like to adjourn for
[14]  can update on your behalf.                                  | [14]  the day and begin first thing tomorrow morning on
[15]          Once you have completed jury duty, please           | [15]  Thursday. Signed, Juror No. 8.
[16]  make sure to fax or scan a copy of the certificate          | [16]           Any objection, counsel?
[17]  to HR for our records. Thanks, Terri.                       | [17]           MR. LORUSSO: No, Your Honor.
[18]          This is the woman who I believe initially           | [18]           MS. FORCHETTI: No, Your Honor.
[19]  said jury duty would be a hardship because her              | [19]           THE COURT: Okay. Let's bring them out.
[20]  obligation to work. She then changed it and I               | [20]  I'll release them from the box.
                                                                  | [21]
[21]  declined to grant her hardship. She submitted this                   (Jury enters the courtroom at 4:07 p.m.)
                                                                  |
[22]  to Mr. Menna to give to me today. I initially                                THE COURT: Good afternoon, ladies and
                                                                  | [22]
[23]  thought that perhaps I should contact the employer          | [23]  gentlemen.
[24]  but given the language of this letter, the employer         | [24]           Mr. Foreperson, would you please rise and
[25]  is not putting any undue pressure on her so I don't         | [25]  identify   yourself by seat number.
              Jaclyne Wilson                                      |                Jaclyne Wilson
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Jaclyne Craighead, O.C.R                               Court Reporting System                                            (page 13 - 16)
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                                                      Page 17                                                      Page 18
[1]            JUROR FOREPERSON: Juror No. 8,          | [1]                        CERTIFICATE
 [2]    Your Honor.                                    | [2]
 [3]           THE COURT: Do you have a communication  | [3]        I HEREBY CERTIFY THAT THE PROCEEDINGS AND EVIDENCE
 [4]    for the Court, sir?                            | [4]        ARE CONTAINED FULLY AND ACCURATELY IN THE NOTES
                                                       | [5]
 [5]           THE DEFENDANT: We do, Your Honor.                    TAKEN BY ME ON THE TRIAL OF THE ABOVE CAUSE, AND
                                                       |
 [6]           THE COURT: Would you please read it.                  THIS COPY IS A CORRECT TRANSCRIPT OF THE SAME
                                                       | [6]
 [7]           JUROR FOREPERSON: Due to the lateness of|  [7]
 [8]    the hour, we would like to adjourn for the day and
                                                       | [8]
 [9]    begin first thing tomorrow on Thursday.        | [9]
[10]            THE COURT: Thank you.                  | [10]
[11]        JUROR FOREPERSON: Thank you, Your Honor.   | [11]                    JACLYNE A. CRAIGHEAD
[12]        THE COURT: Your request is granted. We     | [12]                    OFFICIAL COURT REPORTER
[13] will recess now and commence tomorrow morning at  | [13]
[14] nine o'clock. I'm obliged to remind you all with  | [14]
[15] the following instructions: Keep an open mind.    | [15]
[16] Don't discuss the case amongst yourselves. Please | [16]
                                                       | [17]
[17] don't permit anyone to discuss the case with you.               (THE FOREGOING CERTIFICATION OF THIS TRANSCRIPT DOES
                                                       |
[18] Enjoy your evening. We'll see you all back here   | [18]        NOT APPLY TO ANY REPRODUCTION OF THE SAME BY ANY
[19] tomorrow morning. We'll commence at nine o'clock. | [19]        MEANS UNLESS UNDER THE DIRECT CONTROL AND/OR
[20] (Jury exits the courtroom at 4:09 p.m.)           | [20]           SUPERVISION OF THE CERTIFYING REPORTER.)
[21]    (Hearing adjourned at 4:13 p.m.)               | [21]
[22]                                                   | [22]
[23]                                                   | [23]
[24]                                                   | [24]
[25]                                                   | [25]
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             Jaclyne Wilson
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Jaclyne Craighead, O.C.R                             Court Reporting System                                   (page 17 - 18)
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                          Lawyer's Notes
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